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16
                               UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                   SAN FRANCISCO DIVISION
19
     IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
20   ANTITRUST LITIGATION
                                                       NOTICE OF APPEAL
21
     THIS DOCUMENT RELATES TO:
22                                                     Judge: Hon. James Donato
     Epic Games Inc. v. Google LLC et al.,
23   Case No. 3:20-cv-05671-JD
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                                                    -1-     Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
                                             NOTICE OF APPEAL
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 1                                        NOTICE OF APPEAL

 2          Notice is hereby given that Defendants Google LLC, Google Ireland Ltd., Google

 3 Commerce Ltd., Google Asia Pacific PTE Ltd., and Google Payment Corp. appeal to the United

 4 States Court of Appeals for the Ninth Circuit from the permanent injunction entered on October 7,

 5 2024 (No. 3:21-md-02981-JD, Dkt. 1017; No. 3:20-cv-05671-JD, Dkt. 702), as well as all rulings,

 6 orders, findings, and conclusions leading up to that order, including but not limited to the jury’s

 7 verdict (No. 3:21-md-02981-JD, Dkt. 866; No. 3:20-cv-05671-JD, Dkt. 606); the order denying

 8 Google’s renewed motion for judgment as a matter of law or a new trial (No. 3:21-md-02981-JD,

 9 Dkt. 984; No. 3:20-cv-05671-JD, Dkt. 674); and the order regarding the UCL claim and injunctive

10 relief (No. 3:21-md-02981-JD, Dkt. 1016; No. 3:20-cv-05671-JD, Dkt. 701).

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13                                             Respectfully submitted,
14                                             By: /s/ Neal Kumar Katyal
     Dated: October 10, 2024
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                                                    -2-     Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
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